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 8

 9                         UNITED STATES DISTRICT COURT
10             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
11

12     JANE DOE, an individual,                CASE NO.:
13                       Plaintiff,            [Removed from Riverside Superior Court;
                                               Case No.: CVRI2102214]
14            v.
                                               DECLARATION OF ANGELA
15     CRST EXPEDITED, INC., an entity         STASTNY IN SUPPORT OF
       of unknown form; ARTHUR                 DEFENDANT CRST EXPEDITED,
16     MARTYN, an individual; and              INC.’S NOTICE OF REMOVAL OF
       DOES 1 through 20,                      ACTION PURSUANT TO 28 U.S.C.
17                                             §§ 1332(a), 1441(b), AND 1446(b)
                          Defendants.
18
                                               Complaint Filed: May 14, 2021
19                                             Removal Date:    July 1, 2021
                                               Trial Date:      None Set
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        DECLARATION OF ANGELA STASTNY IN SUPPORT OF DEFENDANTS CRST EXPEDITED, INC.’S
          NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. 1332(A), 1441(B), AND 1446(B)
      FP 40932375.1
     Case 2:21-cv-05362 Document 5 Filed 07/01/21 Page 2 of 4 Page ID #:70



 1                         DECLARATION OF ANGELA STASTNY
 2            I, Angela Stastny, hereby declare and state as follows:
 3            1.      I am currently employed by Defendant CRST Expedited, Inc.
 4    (“CRST”) in the capacity of Director - Human Resources. I have worked for
 5    Defendant in various capacities since April 25, 2005 and have held my current
 6    position since January 31, 2011. I have personal knowledge of the facts stated in
 7    this declaration and, if called as a witness, could and would competently testify
 8    thereto.
 9            2.      CRST is incorporated under the laws of the State of Iowa. CRST
10    Expedited, Inc. was a corporation with the State of Iowa as of May 14, 2021 (the
11    date the instant complaint was filed) and as of the date this Notice of Removal is
12    being filed.
13            3.      CRST maintains its principal place of business and headquarters in
14    Cedar Rapids, Iowa. Defendant’s officers and directors, including the Chief
15    Executive Officer, Chief Financial Officer, Secretary, and many other executive
16    officers and employees work in Cedar Rapids, Iowa. CRST directs, controls, and
17    coordinates the operations of CRST from the corporate headquarters in Cedar
18    Rapids, Iowa.
19            4.      I reviewed Plaintiff’s Employee Profile, which reflects that Defendant
20    employed Plaintiff as an Over the Road Driver. Plaintiff is 58 years old. At all
21    times during her employment, Plaintiff was domiciled in North Carolina.
22    According to CRST’s files, Plaintiff’s last known domicile is in North Carolina.
23    CRST compensated Plaintiff at $0.30 to $0.32 per split mile.
24            5.      Over the Road Drivers generally work 21 days or more at a time and
25    may travel between 3,200 and 4,100 miles a week.
26            6.      Defendant Arthur Martyn is a former employee of CRST. According
27    to Mr. Martyn’s employment records, Mr. Martyn was domiciled in Connecticut
28    during his entire employment with CRST. According to CRST’s files, Mr.
                                                 1
        DECLARATION OF ANGELA STASTNY IN SUPPORT OF DEFENDANTS CRST EXPEDITED, INC.’S
          NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. 1332(A), 1441(B), AND 1446(B)
      FP 40932375.1
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     Case 2:21-cv-05362 Document 5 Filed 07/01/21 Page 4 of 4 Page ID #:72



 1                                 CERTIFICATE OF SERVICE
 2           I, the undersigned, am employed in the County of Los Angeles, State of
      California. I am over the age of 18 and not a party to the within action; am
 3    employed with the law offices of Fisher & Phillips LLP and my business address
      is 444 South Flower Street, Suite 1500, Los Angeles, California 90071.
 4
            On July 1, 2021, I served the following document(s) DECLARATION OF
 5    ANGELA STASTNY IN SUPPORT OF DEFENDANT CRST EXPEDITED,
      INC.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§
 6    1332(A), 1441(B), AND 1446(B) on the person(s) listed below by placing          the
      original      a true copy thereof enclosed in sealed envelope(s) addressed as
 7    follows:
 8     John C. Taylor, Esq.                       Attorneys for Plaintiff Jane Doe
       Natalie Weatherford, Esq.
 9     TAYLOR & RING                              Tel: (310) 209-4100
       1230 Rosecrans Avenue, Suite 360           Fax: (310) 208-5052
10     Manhattan Beach, CA 90266
           [by MAIL] - I am readily familiar with the firm's practice of collection and
11          processing correspondence for mailing. Under that practice it would be
            deposited with the U.S. Postal Service on that same day with postage thereon
12          fully prepaid at Los Angeles, California in the ordinary course of business.
            I am aware that on motion of the party served, service is presumed invalid if
13          postage cancellation date or postage meter date is more than one day after
            date of deposit for mailing this affidavit.
14         [by ELECTRONIC SUBMISSION] - I served the above listed
            document(s) described via the United States District Court’s Electronic
15          Filing Program on the designated recipients via electronic transmission
            through the CM/ECF system on the Court’s website. The Court’s CM/ECF
16          system will generate a Notice of Electronic Filing (NEF) to the filing party,
            the assigned judge, and any registered users in the case. The NEF will
17          constitute service of the document(s). Registration as a CM/ECF user
            constitutes consent to electronic service through the court’s transmission
18          facilities.
           [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice
19          for collection and processing of correspondence for overnight delivery by
            Federal Express. Under that practice such correspondence will be deposited
20          at a facility or pick-up box regularly maintained by Federal Express for
            receipt on the same day in the ordinary course of business with delivery fees
21          paid or provided for in accordance with ordinary business practices.
           [by PERSONAL SERVICE] - I caused to be delivered by messenger such
22          envelope(s) by hand to the office of the addressee(s). Such messenger is
            over the age of eighteen years and not a party to the within action and
23          employed with Express Network.
24          I declare that I am employed in the office of a member of the bar of this
      Court at whose direction the service was made. Executed July 1, 2021, at Los
25    Angeles, California.
26      Melody Biglay                        By:
                      Print Name                                  Signature
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                                        PROOF OF SERVICE
      FP 40932375.1
